                   Case: 1:25-cv-00457 Document #: 29 Filed: 04/15/25 Page 1 of 1 PageID #:354
AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)                        On or about January 28, 2025
NAME OF SERVER (PRINT)                                                                  TITLE
 U.S. Marshalls
   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




          G Other (specify):

              Service by U.S. Marshals via Certified Mail on Defendants listed in attached Exhibit A pursuant to Court Order (Dkt. 5).




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                            TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on     April 15, 2025
                                        Date                    Signature of Server




                                                              16036 84th PLACE, Tinley Park , IL 60487
                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
